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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO




 Civil Action No. 20-cv-01318-NYW


 ALL PLASTICS, INC., d/b/a BUD BAR DISPLAYS and BUDBARDISPLAYS.COM, a
 California corporation,

          Plaintiff,


 v.


 SAMDAN LLC, d/b/a SMOKUS FOCUS, a South Carolina limited liability company,
 SAMUEL WHETSEL, an individual and in his capacity as a member of SamDan LLC, and
 DANIEL RUSSELL-EINHORN, an individual and in his capacity as a member of SamDan
 LLC,

          Defendants.



                       DEFEDANTS’ FINAL INVALIDITY CONTENTIONS


          Defendants hereby serve on Plaintiff their Final Invalidity Contentions, compliant with

 D.C.COLO.LPtR 16(b). Charts IB, IIB, IIIB, IV, VB, VI, VII, VIII further set forth the

 correspondence of each claim element to the prior art teachings. Also appended is a statement of

 good cause addressing the changes since the initial invalidity contention.


                                  LISTING OF THE PRIOR ART

          Each of following qualifies as prior art under 35 U.S.C§ 102.

         US Patent No. 9,334,086 to Bean, filed Jul. 30, 2015, based on provisional filed Jul. 30,
          2014 (“Bean”)
         US PGPub 2016/0031605 to Bean
         US 7,743,934 to Martin, filed on April 12, 2005 (“Martin”)
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       US 8,528,775 to Martin, filed on February 23, 2006, based on US 7,007,818 filed on
        December 9, 2002
       US Patent No. 9,801, 488 to Affatato, filed Mar 4, 2016, based on provisional Mar. 6,
        2015 (“Affatato”)
       Bud Bar containers publicly available in 2013 and further evinced by an article in The
        Columbian, August 27, 2014 (“Bud Bar”)
       World’s Best Bug Jar by Safari Toys, on sale at least since 2012, available for purchase at
        https://www.amazon.com/Safari-Toys-Worlds-Best-Bug/dp/B000BIX3BY (“Bug Jar”)
       US Patent No. 4,230,231 to Burnett, filed on April 16, 1979 (“Burnette”)
       US Patent No. 4,284,200 to Bush, filed on October 1, 1979 (“Bush”)
       US D803,287 to Whetsel, filed April 5, 2016 (“Whetsel”)
       US Patent Application No. 2013/0280147 to Kang, filed on , published Oct. 24, 2013
       HK (Hong Kwang Sub): KR1020110021002A (app # KR20120103019A) (published Sep
        9, 2012)
       US 3,656,840 to Smith, filed June 26, 1970 (“Smith `840”)
       US D607,340 to Klis, filed September 29, 2008 (“Klis”)
       US 8,899,443 to Soibel, filed on December 15, 2009 (“Soibel”)
       US 4,979,332 to Nagaya, filed December 20, 1988 (“Nagaya”)
       US PGPub 2013/0313217 to Yamamoto, filed on August 7, 2013 (“Yamamoto”)
       US 6,013,524 to Friars, filed January 19, 1998 (“Friars”)
       US 5,321,908 to Ushimaru, filed on May 12, 1993 (“Ushimaru”)
       US PGPub 2007/0051826 to Schofield, filed August 22, 2005 (“Schofield”)
       EP 0900408 to Dart Industries, date of publication September 24, 2003 (“Dart”)
       Bud Bar Container as discloses at ALL_000863, 870, 905-8, 9154, and the document
        with No Bates Label.
       The Bud Bar Container Aroma Canna-Pod w/lens & scent vent, produced at the Claim
        Construction Hearing on July 2, 2021, and the container portion, without the L-shaped
        stand of the E-Pod, and believed to have been the second container produced at the Claim
        Construction Hearing on July 2, 2021, and believed to be shown in ALL_ 015061-63;
        ALL_015102-103.
       The Bud Bar 2011 Container, shown in public use as early as 2011 (e.g. ALL_ 000906-8,
        Ex. 18 [William Smith Decl.] (identified by Plaintiff during the Claim Construction
        Hearing on July 2, 2021).

        The references to the following: Bean and its family members, Martin and its family

 members, Bud Bar, Bug Jar, Burnette, Bush, Kang, HK, Smith, Klis, Soibel, Nagaya,

 Yamamoto, Friars, Ushimaru, Schofield, Dart, all qualify under § 102(a)(1) for having been

 patented, published, in public use or sale, or otherwise available to the public before the effective

 filing date of the claimed invention. The references to Affatato and Whetsel qualify under §

 102(a)(2) for having been disclosed in a patent or a published application which names other

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 inventors and which was effectively filed before the effective filing date of the claimed

 invention.

        The effective filing date for subject matter properly described and enabled according to

 35 U.S.C. § 112(a) in patent application number 14/701,961 is May 1, 2015. The effective filing

 date for any other disclosure in the asserted patent is March 21, 2017, the filing date of its

 application, serial number 15/464,823.

        The Bud Bar Container disclosures qualify as prior art against the claims of the asserted

 patent under 35 U.S.C. § 102(a)(1) for having been disclosed or otherwise publicly available

 prior to the effective filing date thereof—March 21, 2017. The exception at § 102(b) does not

 apply because the Bud Bar Container disclosures were made before March 21, 2016, more than

 one year prior to March 21, 2017. The effective filing date for each claim of the asserted patent is

 no earlier than March 21, 2017, because no earlier disclosure, contained within the priority chain

 of the patent application serial number 15/464,823, satisfies the written description requirements

 under 35 U.S.C. § 112(a).


                                  GROUNDS FOR INVALIDITY

        Each claim of the asserted patent is invalid for being obvious over the prior art under 35

 U.S.C. § 103. The appended Charts set forth specific exemplary grounds of rejection with respect

 to one or more prior art references. The Reference Chart provides a summary of citations each of

 which teaches an element of a claim and which may be combined together, or with the prior art

 disclosures in the Charts, to render the claims of the asserted patent obvious. The citations in the

 Reference Chart are a supplement to those identified in Charts I-VIII and are not exhaustive.


        Moreover, Claims 1 and 11 are invalid under 35 U.S.C. § 112(b) for failing to

 particularly point out and distinctly claim the invention. Specifically, claim 1 recites that “said

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 plug forms an airtight seal between said plug and said lid completely sealing said chamber”

 which is ambiguous and renders the metes and bounds of the claim indefinite. The plug as

 claimed can seal the scent openings but cannot seal the chamber, as claimed (for example, if the

 connection between the lid and the body of the container is not sealed). Accordingly, it is unclear

 whether this limitation intends to recite functional language which follows from the structural

 limitations already recited or whether it seeks to imply a structural limitation not expressly

 stated, namely that the claimed lid and the claimed body are fitted together to create an airtight

 (or completely sealed) chamber. Claims 2-10 and 12-20 depend from claims 1 and 11

 respectively. As such, they too are indefinite under § 112(b).


        Claims 3, 13 and 4, 14 are additionally indefinite under § 112(b) because each recite

 “wherein said lid and said container body are comprised of” PMMA or SAN respectively. The

 disclosure only supports the container and lid being made from PMMA or from SAN. But the

 word “comprising” as used implies that the container or lid merely includes PMMA or SAN.

 Accordingly, the metes and bounds of the claim are ambiguous and it is unclear whether or not a

 container body or lid which includes, but is not made from, PMMA or SAN infringes the claims.


        Claims 1 and 11 are invalid under 35 U.S.C. § 112(b) for failing to particularly point out

 and distinctly claim the subject matter that the inventor regards as the invention. Specifically,

 claims 1 and 11 recite “a lens” which is admitted by patentee to be limited to a “dedicated, high

 quality” lens. See ECF 122 pp. 10-16. The only guidance provided by the disclosure as to what is

 a dedicated, high quality lens is that the lens may be a planoconvex lens manufactured by J.P.

 Manufacturing. US Patent 10,384,834 at col. 3:2-6. But the claimed lens is not limited to the

 plano convex lens by J.P. Manufacturing. Id.; ECF 122 pp. 10-16. As such, the metes and bounds

 of claims 1 and 11 are indefinite because claims 1 and 11 fail to inform one of ordinary skill as to

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 the scope of the invention with reasonable certainty. That is, the claims do not particularly point

 out and distinctly claim the invention so as to inform, with reasonable certainty, those skilled in

 the art regarding what lens is covered by the claims and what is not.


        Moreover, a “dedicated, high quality lens” is not used in any patent disclosure available

 in the USPTO database or in decisions from the federal courts or in content available online

 through Google or Bing search engines. Therefore, without some guidance from the disclosure,

 consistent with 112(b) which informs a person of ordinary skill what the inventor considers to be

 a dedicated, high quality lens, the scopes of claims 1 and 11 are indefinite. Claims 2-10 and 12-

 20 depend from claims 1 and 11 and are therefore invalid for the same reasons.


        Defendants reserve their right to assert one or more invalidity positions under 35 U.S.C. §

 112(b) if Plaintiff asserts a construction for an element of a claim which is inconsistent with that

 set forth by the specification and the intrinsic evidence.


        Defendants further reserve their right to assert one or more invalidity positions under 35

 U.S.C. § 112(a), for failure to enable or failure to provide adequate written description, if

 Plaintiff asserts a construction for an element of a claim which is inconsistent with the disclosure

 of that element on the priority date as asserted by Plaintiff.


        Further, all of the claims of the asserted patent are unenforceable or invalid due to

 inequitable conduct, unclean hands, the violation of the duty of candor and the duty to disclose

 under 37 C.F.R. § 1.56.


        First, applicant failed to disclose to the USPTO their publicly available products which

 are material to patentability and which have been in the public domain for almost a decade.


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 Applicant had been selling products as far back as 2011. Those products are material to

 patentability at least because they include many, if not all, elements of the claims. Examples of

 these products as disclosed and publicly available are shown in ALL_000906-8, as well as

 Plaintiff’s products as referred to in Charts VII, VIII.


        Second, applicants failed to correctly disclose their correct entity status to the USPTO,

 thereby receiving deeply discounted fees. Applicant paid fees to the USPTO as a micro entity

 when applicant did not qualify for such a status under the requirements of 37 C.F.R. § 1.29 and

 form PTO/SB/15A. Moreover, the asserted patent is a fruit of a poisonous tree as its parent

 application, 14/701,961 now US 9,630,747 to Smith, suffers from the same deficiencies.


        Defendants reserve their right to supplement these disclosures as permissible by Federal

 Rules of Civil Procedure 26, the Local Rules, and the case schedule as entered in this action.


 On October 27, 2021 by                 s/ Kammie Cuneo
                                        Kammie Cuneo

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